                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION- BAY CITY

 IN RE:                                                    Chapter 7 Bankruptcy
                                                           Bankruptcy No. 21-20908
 Ilakeisa Luckado                                          HON. Daniel Opperman

       Debtor
 __________________________________/

                 NOTICE OF MOTION BY DEBTOR ILAKESIA LUCKADO
                      FOR REDEMPTION UNDER 11 U.S.C. §722

 Debtor, Ilakesia Luckado, has filed papers with the Court to Redeem.

          Your rights may be affected. You should read these papers carefully and discuss them with
 your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may
 wish to consult one.)

     If you do not want the court to redeem the vehicle, or if you want the court to consider your views on
 the Motion for Redemption, within 14 days you or your attorney must:

 1.    File with the court a written response or an answer, explaining your position at: 1

                     United States Bankruptcy Court
                     111 First Street
                     Bay City, MI 48708

            If you mail your response to the court for filing, you must mail it early enough so the court will
            receive it on or before the date stated above.

            You must also mail a copy to:
            Roxane M. Kaye              Randall Frank                       Office of the U.S. Trustee
            LSEM                        PO Box 2220                         211 West Fort Street, #700
            436 Saginaw St. Ste. 101    Bay City, MI 48707                  Detroit, MI 48226
            Flint, MI 48502             Chapter 7 Trustee                   US Trustee

 2.    If a response or answer is timely filed and served, the clerk will schedule a hearing on the motion and
       you will be served with a notice of the date, time and location of the hearing.

       If you or your attorney do not take these steps, the court may decide that you do not oppose the
       relief sought in the motion or objection and may enter an order granting that relief.

 DATED: 9/19/2021                                          /s/Roxane M. Kaye (P64118)
                                                           Attorney for Debtor(s)
                                                           Legal Services of Eastern Michigan
                                                           436 Saginaw Street, Ste. 101
                                                           Flint, MI 48502
                                                           (810) 272-1506
                                                           rkaye@lsem-mi.org

 1
     Response or answer must comply with F.R. Civ. P. 8(b)(c)(d) and (e).



21-20908-dob           Doc 10       Filed 09/20/21         Entered 09/20/21 10:02:22             Page 1 of 2
21-20908-dob   Doc 10   Filed 09/20/21   Entered 09/20/21 10:02:22   Page 2 of 2
